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3141            SMS - Inbox                                                                                          SMS
  0

       Description: (No description)
       From: +13237463192                                                           Time stamp
                                                                                    (Device time      9/2/2015 4:14:31 AM
                                                                                    +00:00):
       To: Me <+18123058776>

       Remote party: +13237463192

       Direction: Incoming                   Read status: Read                       Deleted: No

       Burner says: Hey, your code is 340339 - enter it on the app registration page to finish signing up. Thanks!




                                                                                                                134 9229
                                                                                                          20-32-M-DWM
   SENSITIVE
Case               MATERIAL
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